                            Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 1 of 8 PageID #: 10

                                                         Exhibit A to the Complaint
Location: Queens, NY                                                                                IP Address: 98.116.237.13
Total Works Infringed: 64                                                                           ISP: Verizon Fios
 Work     Hashes                                                                UTC          Site         Published      Registered   Registration
 1        Info Hash:                                                            02/19/2021   Blacked      12/21/2020     01/05/2021   PA0002269958
          E02726CD91174CB1B4DC0D80F0F82E2907D12221                              08:27:19     Raw
          File Hash:
          9605575DD9A6B9904F52D3FEDA895D2C8FB4A7CF46A2524EB821218120D5F730
 2        Info Hash:                                                            01/02/2021   Vixen        01/19/2019     02/22/2019   PA0002155139
          C9B0FE824EC74B4492017E5AA090C08B4314BF82                              07:53:04
          File Hash:
          7DBFA58DA6CAAC4BEB3F0334181C63C17C5B6BAB61CB9EDA2A35A50405296486
 3        Info Hash:                                                            11/17/2020   Blacked      07/04/2020     07/20/2020   PA0002248966
          A5F599FEFCC9534692B5822A1526EF66A312A012                              00:08:03
          File Hash:
          E6969AAFE57E1869ADCF19EFEA6A3D2FC5074542AE2D72CBD53AD7D8924561B3
 4        Info Hash:                                                            11/17/2020   Blacked      05/18/2020     06/08/2020   PA0002243644
          5E096E8A4463655085C9745951AEEF0AE470964D                              00:02:43     Raw
          File Hash:
          404B8781248484E77ED3A53F18075DAC3AA48B8C4EAF749FF468156D47211A77
 5        Info Hash:                                                            11/17/2020   Blacked      10/19/2020     11/05/2020   PA0002263389
          30C2E5EEEBDF45D9C83127199FE070EEB091A96C                              00:02:39     Raw
          File Hash:
          363C657260C54421DB941EE3B5764CF3DD8788F6570BF153BC16E19E0081CDC7
 6        Info Hash:                                                            10/04/2020   Blacked      10/17/2017     11/27/2017   PA0002097981
          F011B5C1E76C5CD712DADA5DF9CE66184EAA72B2                              00:21:16
          File Hash:
          9A63B663DD43205E88F862BBC956987D0E51AE9C368621C6C3BEC154DFE58488
 7        Info Hash:                                                            10/04/2020   Blacked      01/07/2018     01/24/2018   PA0002101759
          E48665E26ACE2AC908A80B030E5B02682277F35C                              00:21:14     Raw
          File Hash:
          6DBA04E220107C4BF3267016B6374DCEE936D95A5687D0F01A5270A0A2FCCA83
 8        Info Hash:                                                            10/03/2020   Blacked      10/03/2020     10/22/2020   PA0002261803
          FF2738464090D606206D0608A050F0BA3D10E1A9                              21:54:49
          File Hash:
          ADDC73912EE777EB7455915C5BAD3A332E1F6EA951019C2EA1284BE0F356CE0C
                        Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 2 of 8 PageID #: 11

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
9      Info Hash:                                                         09/30/2020   Blacked   01/17/2020   02/20/2020   PA0002229055
       1B893F676E56773ED5FF82FD7DF25116F8541544                           01:16:22     Raw
       File Hash:
       1EE98A390083C0D4271E26488268586A62B40C29597ADC4E0583F5AF23D02873
10     Info Hash:                                                         09/30/2020   Blacked   02/29/2020   04/15/2020   PA0002246058
       3AE6DC9DEC514352B218937506C2CC49489B66AC                           01:04:13
       File Hash:
       80389DD58C2A0EF8455DE7085F761D3D88CFBEE72DE85C6DE4BA4E1C6C44EB80
11     Info Hash:                                                         09/30/2020   Blacked   03/03/2019   04/17/2019   PA0002186905
       9536019879F17F3B90AD722E8B0FAEC984EEEF5A                           00:39:45     Raw
       File Hash:
       1B470AFFB7BF459EE95FEC985D8EF40364FA790362F7C259BA48CC55F111B858
12     Info Hash:                                                         06/19/2020   Blacked   01/10/2020   02/04/2020   PA0002225582
       8340DF7A3A5C43A154B8A190F8EB6010786137E1                           05:46:54
       File Hash:
       D43189B0C9E38B7CAC6D1348B018E82246553D9F71EC7532F1A1C1F5FB5A6A10
13     Info Hash:                                                         05/14/2020   Blacked   11/13/2017   11/30/2017   PA0002098039
       D2EB460A7C696C3A9D62EDCD797DDDD07094F2D5                           06:28:58     Raw
       File Hash:
       877D0C18891243E33B66AA18ED479D27D8386F83F38C8FE709A1EF43D9C06E7F
14     Info Hash:                                                         05/14/2020   Blacked   10/27/2017   11/27/2017   PA0002098016
       B0FE13ECF5F84AEAC8C53B134AC336CFB843CF0D                           06:24:03
       File Hash:
       148BA9ADA1545D34949E4DF1AFFF8CE9F2B342DF3D5C0BE394FFAC173232A158
15     Info Hash:                                                         05/14/2020   Blacked   03/28/2018   04/12/2018   PA0002091513
       43E0D25E70530A6C6837D3E3EBC16B958F2E24AC                           06:23:33     Raw
       File Hash:
       FE6FD35082C56D4DBBAEEFF99C16EAAB45C0602F2365CD617DFDDD89F06D73AD
16     Info Hash:                                                         05/11/2020   Blacked   11/21/2018   12/18/2018   PA0002141915
       716BD92E139BE2039209B3F8C494B7A8356E4774                           16:52:57     Raw
       File Hash:
       D02255E8C093E98B712A51334068B516A9B2B7C10B0482D76261E8C7712FE1E0
17     Info Hash:                                                         05/11/2020   Blacked   11/03/2018   12/10/2018   PA0002145823
       2ADE8763346FFA11FC1395267FDA45ACC89C677C                           16:51:39     Raw
       File Hash:
       CAC816B88E76CA37F722E7F92736C38A9916269EB659FEA2E78918D83D06D7D8
                        Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 3 of 8 PageID #: 12

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
18     Info Hash:                                                         05/11/2020   Blacked   09/14/2018   11/01/2018   PA0002143423
       9444673AEA9CEF75BAFE4E96E8127BD32CC900F5                           16:42:55     Raw
       File Hash:
       16701A4F3154406740AA950AB3E8F6302AF436FD7755762F155886D749C8B474
19     Info Hash:                                                         05/11/2020   Blacked   09/09/2018   10/16/2018   PA0002127792
       69BA9C8EC6B3C2D9FB6CD545B85991237BC901C2                           16:38:59     Raw
       File Hash:
       F0C307D2A5574814D7D7F9FAA1622E84AC38804CFE1E666608F0B94488BC0211
20     Info Hash:                                                         05/11/2020   Blacked   01/02/2020   02/04/2020   PA0002225581
       BAB6EB6DA296A31AF623DB7A9EF885CCD7C0DB5D                           16:22:12     Raw
       File Hash:
       C063254D50186F2088DAE501466E95E9A0E26A2243F649F67F8443EA45B5CDF5
21     Info Hash:                                                         05/11/2020   Blacked   09/19/2019   09/25/2019   PA0002203162
       34FDB74CF0D5A9ED24C4C0A7632D7C5C0DD4A10B                           16:15:27     Raw
       File Hash:
       687957B63794780230326924D082C1F054B0ED0FA70D4891292F96B9B488985D
22     Info Hash:                                                         05/11/2020   Blacked   08/20/2019   09/13/2019   PA0002200701
       94A9D2E22A9B4ACF81A5EC69EE4DCA10983CAF23                           16:13:17     Raw
       File Hash:
       8F6C453740B37D5E62E645F7B122857B20C711154CF03D4597B1C3C020D30F52
23     Info Hash:                                                         05/11/2020   Blacked   07/31/2019   08/22/2019   PA0002195511
       662C42833DF0727F4B96196F88475B615B2F0D2B                           16:11:48     Raw
       File Hash:
       181A5A85F913157A0303150E1B0C7ECC81F7A63FC42BA1071B5236AC52A0432E
24     Info Hash:                                                         05/11/2020   Blacked   04/27/2020   05/19/2020   PA0002241476
       FB957BE898DADD1186C0FBB70DB37E77ECE5DB1A                           16:05:55     Raw
       File Hash:
       CCAEE38FA77AF2583E0D24BB6FDDE76B89ED6A93A5DE0DA59C65887835A13ED7
25     Info Hash:                                                         05/11/2020   Blacked   09/09/2019   10/01/2019   PA0002217358
       EC432D8D71F5AB0CE83147F50B0873710BD1EC03                           16:04:55     Raw
       File Hash:
       D8B650B961312931C2DB40CEFBC8476D837B1DB948A7F9FDC5AD63147B42E960
26     Info Hash:                                                         05/11/2020   Blacked   07/06/2019   08/02/2019   PA0002192304
       2F092E0F05BFF10617C5EFDCC6827A380F51281E                           06:50:24     Raw
       File Hash:
       50456612F7DBE8A290429B9B565013723D1D8C62F683B71DD639F8F112699BE0
                        Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 4 of 8 PageID #: 13

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
27     Info Hash:                                                         04/12/2020   Blacked   04/04/2020   04/17/2020   PA0002237304
       089A334E08FB9D7BF03350D63AD8D401B6C48EEC                           20:35:13
       File Hash:
       3053112F46CFC5C06D9720DDBE693A0923BAEBB472ADF3E1B4BB91BCFE098C4D
28     Info Hash:                                                         02/16/2020   Blacked   02/13/2020   03/18/2020   PA0002241447
       31959DBFA8875FB8FF4EFC094D1C92D4DC625E7C                           03:01:30     Raw
       File Hash:
       8E1FC62DCDBBC878972A90DEC72B1FBA5206AF2E9DFEB6659AB6ED88FBC76BDD
29     Info Hash:                                                         02/14/2020   Blacked   02/14/2020   03/18/2020   PA0002241448
       E217D8E96B97F7863A5F750CAEDF77E05072F113                           19:49:51
       File Hash:
       CCF2D815DECC03976CDDBFD89AE332FEDAE68ED1D12FD42538ABFA68CCC30A36
30     Info Hash:                                                         02/14/2020   Blacked   05/15/2018   06/19/2018   PA0002126654
       400E090F4802B871662C556A82ABFC945392215F                           06:10:25
       File Hash:
       06CDD274AF3FF035D9BC76B6AC2622D0E84012889163E9A5F44B28F003362EC8
31     Info Hash:                                                         02/12/2020   Blacked   01/20/2020   02/04/2020   PA0002225586
       32A7357AD1FD4AF2D2BFF5B792D81DFDA7E14922                           06:35:49
       File Hash:
       A6A74B186A5BA8DE4E6954029D7BF67385E28AEC57B392881080EEE456BE39FC
32     Info Hash:                                                         01/14/2020   Blacked   07/04/2017   07/07/2017   PA0002070819
       771C669842BE814DA19F886EDF5E759B0EC4BF37                           22:04:10
       File Hash:
       9073F5D59DF68BF334F02659FA77CC52842D80A00A1B8EF392878DF8FCDDF83E
33     Info Hash:                                                         01/09/2020   Blacked   02/16/2019   03/11/2019   PA0002158595
       4ED2350365BDA4C8207A8CCEDBC81B0340E58ABC                           22:14:24     Raw
       File Hash:
       42BFA57239AC6310293F89186960CE0FBAB1526442CDDA853D6141F6A6EFCD68
34     Info Hash:                                                         12/24/2019   Blacked   10/14/2019   11/05/2019   PA0002210289
       7DC31F64F10A5177DC11A0B36E4E52BDD9D6743E                           00:58:10     Raw
       File Hash:
       731763BED52FC0E38E82856DB997AEB34FE42070147E94E098EF60145CE647FA
35     Info Hash:                                                         12/24/2019   Blacked   10/29/2019   11/15/2019   PA0002211918
       3F2C77EEEB7E60E00F08C6B2372C0DF949F27870                           00:56:56     Raw
       File Hash:
       49DBD6B87DCE0411C7014A67AE306E2420507B0811F56E367420F42814BE2FA2
                        Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 5 of 8 PageID #: 14

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
36     Info Hash:                                                         12/24/2019   Blacked   11/13/2019   11/27/2019   PA0002213997
       00D4C51A29C9BECB409301B771D686F17B05B89B                           00:54:33     Raw
       File Hash:
       2517AD4C9EBD5958B7B53277E98727CB70A48CAE5960B8795E50AD33A0666CBE
37     Info Hash:                                                         12/24/2019   Blacked   11/18/2019   12/09/2019   PA0002216261
       28D3A9EC7C6D3A6CA0C764EF6A4C9B3E0430CB8E                           00:53:29     Raw
       File Hash:
       1417D1E60436334A79D2822C80AED298E3266BFDD20924CF09A99BC161454E14
38     Info Hash:                                                         12/24/2019   Blacked   12/21/2019   01/03/2020   PA0002219632
       857B8C6F2AF004FCD484BAA8B1FFA31A2D25251D                           00:52:48
       File Hash:
       09D7D1B995F174ED3218D78E03D8B1FA9D13BB1D9658504640E2AFA60FFB8592
39     Info Hash:                                                         12/24/2019   Blacked   04/15/2018   05/23/2018   PA0002101306
       A78E6F607ADB14DAD976A0E9AECAA0623AB8BC34                           00:49:11
       File Hash:
       8ED9E28D903E58615C12E5509656EAF3D324C642A2369470DB5887A3DB6E988E
40     Info Hash:                                                         12/24/2019   Blacked   06/21/2018   07/26/2018   PA0002112156
       48FC851FEDE158FA68466F2C2EC15D57A24CE18A                           00:48:16     Raw
       File Hash:
       12B63C03986585E66F366B94BF78B3EFB37104EF78E6543F97EC1F35C586A1AD
41     Info Hash:                                                         12/24/2019   Blacked   09/04/2019   09/13/2019   PA0002200700
       FBBFEBB1C68DF7C5B90CCA1A5638DF9C4C6BFC7A                           00:47:16     Raw
       File Hash:
       43782B257EF4AE91D30B598250B878F3E857AD38F052A179CAC0C40903C101C2
42     Info Hash:                                                         12/19/2019   Blacked   08/05/2019   08/27/2019   PA0002213302
       8FCE7D42A6556C1B82F12839B018885BBCF4DB6D                           00:04:46     Raw
       File Hash:
       D2A14C9B3227E4A4B1815A18E02EB1FF7428574E2604DF93DDA9C74A0B8F7ECF
43     Info Hash:                                                         12/19/2019   Blacked   10/09/2019   11/05/2019   PA0002210286
       DD7D9795E444F4A6C88F770090690E10B003073E                           00:00:26     Raw
       File Hash:
       7A54C431B03EF40343B74D55875C35757C5E8AB7D71DB14BA1EBC7282381C12B
44     Info Hash:                                                         12/18/2019   Blacked   05/17/2019   07/05/2019   PA0002206002
       C340030059AF08957371330E339FB3AA67E8FFDB                           23:59:40     Raw
       File Hash:
       6BA96B48297951EA5CD38799CC99EBF61F1A282C5634BBFF3688E1D6989D64C4
                        Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 6 of 8 PageID #: 15

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
45     Info Hash:                                                         11/22/2019   Blacked   10/04/2019   10/21/2019   PA0002207780
       119DC446BEBFEDD1A5069582FD23FE358C78F4F9                           17:23:00     Raw
       File Hash:
       6555638278B9C75C49758E027A7AC0526022AC6D42C649E714356018AE21AA08
46     Info Hash:                                                         08/22/2019   Blacked   07/11/2018   08/07/2018   PA0002131894
       BC8ACAF0DC42FB3CEEDEB0DC51C20206FDBB20E4                           00:00:14     Raw
       File Hash:
       919DA12AA4735E13F322A5B132BEC0D5B86ACB0BCD58ACEF7FAB4799C46583F5
47     Info Hash:                                                         08/21/2019   Blacked   02/13/2019   03/11/2019   PA0002158597
       D4130E59A4F7FAA536754AB19E46653D45AA46FF                           23:59:53
       File Hash:
       CBB560E940E2451C8A2A665F1ABFB9091234B6B474242BE14C8888C1CDE9F342
48     Info Hash:                                                         06/21/2019   Blacked   04/02/2019   05/28/2019   PA0002200780
       60A3091D0C256FC35025232D5F8DCBFA7D1BE7C9                           16:40:45     Raw
       File Hash:
       DF2362D5ACF3E0E5C7910A44DEE2DD7B578CA09C85019E7CC8C185889814F5C1
49     Info Hash:                                                         05/25/2019   Blacked   02/01/2018   02/20/2018   PA0002104206
       BBCB17D52E2EF3886EA8720EB8D1D01CCCC96F71                           16:57:14     Raw
       File Hash:
       03D56B52EA117995F2062C15D42CD621577D286A93ED82867BF6715521AB9870
50     Info Hash:                                                         05/25/2019   Blacked   08/20/2018   09/05/2018   PA0002135002
       ECEC874C21239A30F35D90C14D825619A4E8486A                           16:50:18     Raw
       File Hash:
       3BF2821EC208F96DCFAB5AEC6A0A782BA4D4E7896DA939247644E14885C28509
51     Info Hash:                                                         05/12/2019   Blacked   04/30/2019   06/03/2019   PA0002178774
       F9B92290296A3DF4D4981A2EB881ECBD9591750C                           15:43:51
       File Hash:
       FB5B3789E4048125B9665266C55CBA91F9F4B53AFC0E29A6F9617CEDF5F9D963
52     Info Hash:                                                         05/12/2019   Blacked   05/10/2019   07/05/2019   PA0002206368
       3CD3C8E5DF7A65B6F7DA01805452CFCE65834ABC                           15:39:58
       File Hash:
       2DACC7B175C8088AFE89030F9FF8F55A89636BAF4B7CB6F2F4A100FA285273B6
53     Info Hash:                                                         04/07/2019   Blacked   09/04/2018   11/01/2018   PA0002143430
       763A6FC5F201546394575CD7601D8C2D7DBD3AE7                           17:39:44     Raw
       File Hash:
       A2BE74C8C93C222986472D05AD8FD915556D28A62D19C4E1BA8E14CFBC4CE75A
                        Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 7 of 8 PageID #: 16

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
54     Info Hash:                                                         03/28/2019   Blacked   08/05/2018   09/01/2018   PA0002119682
       3350AD6ED2ECD3F20CA9BFAB853A3CED164589B0                           02:21:08     Raw
       File Hash:
       C37AF8553805F6A6564CD2DA3705A9DAFD128B2939D7AA101D686499D196A471
55     Info Hash:                                                         03/24/2019   Blacked   12/20/2018   01/22/2019   PA0002147906
       37049FE5D620BB361D281D29030B98EBB4054849                           15:29:52     Raw
       File Hash:
       B620D02440ABCF58C8EF86BD02FDBEB15631FACF8D2EEA980C99C64D893E7F05
56     Info Hash:                                                         03/20/2019   Blacked   03/18/2019   04/08/2019   PA0002164883
       CE74EDC69A9EE02D7EAEF30B9F3DC7A0FA93CA19                           01:18:25     Raw
       File Hash:
       AD6B67077E3A7384F427669028069434AC296F9CD332D65D172D09396AC3005B
57     Info Hash:                                                         01/13/2019   Blacked   04/05/2017   06/05/2017   PA0002052859
       4611B83057039A44922835D6766AB1B52C9ABB59                           01:43:14
       File Hash:
       64837CAC8FDFD5726E6F497C415F19D7D19881F572B0F4DE45A498A95C4A6575
58     Info Hash:                                                         01/09/2019   Blacked   04/25/2017   06/15/2017   PA0002037576
       CC4D89C30BD65D68546BCF62ACE381585BD879EF                           21:30:43
       File Hash:
       0B3CBA76BF3CFAB6D9318F5150DD1FCBE4282027F995B7360C3FCD1D48AF4AAB
59     Info Hash:                                                         01/08/2019   Blacked   06/24/2018   07/26/2018   PA0002112154
       8031B4A7A5CFCECBC796D4772440BFC5016C11AA                           21:39:33
       File Hash:
       6BC6E1D6C35FB48E06C6A8D7BBF0DF2769A8B15B04C14B904550055F04219187
60     Info Hash:                                                         01/08/2019   Blacked   11/16/2018   11/25/2018   PA0002136637
       291FBDCCB166E2B3BABD1BBBEDC629EC375EEB32                           01:50:52
       File Hash:
       953B4FA05464C77F34EA401CB5807830535C64655212BEFFD41DC609249E6C56
61     Info Hash:                                                         01/08/2019   Blacked   01/07/2019   02/02/2019   PA0002155390
       2C87C60C1780C78E400F9EF552F85B1954FE1985                           01:44:08     Raw
       File Hash:
       4EAF5419CA409C379D27B8AB3A4A07121E433977C9A6F7ACB185636117A544BE
62     Info Hash:                                                         01/02/2019   Blacked   09/12/2018   11/01/2018   PA0002143426
       B038E50CE96EA99AC02E1BCF051643E7314A3667                           03:56:50
       File Hash:
       72EAA4CC3AC4AF5B8AA2AD7BE38FAEC63017FABD2E62BA4876A94B5E05131F37
                        Case 1:21-cv-01585-LDH-LB Document 1-1 Filed 03/25/21 Page 8 of 8 PageID #: 17

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
63     Info Hash:                                                         01/02/2019   Blacked   12/28/2018   02/02/2019   PA0002155006
       2F1C13C6DB1E2B524CEF4625642F942A3692499C                           03:55:17     Raw
       File Hash:
       CC0ECD3F17E3824A92E704EF79A7ED2101BF86232CBE14F2E24D445CD091E6AB
64     Info Hash:                                                         01/02/2019   Blacked   10/29/2018   12/10/2018   PA0002145837
       2541261990122381387D2C03CDA34FF74B4EDE3E                           03:38:48     Raw
       File Hash:
       C687436ACD90C3EA61538DA4C09F489019D7A176148DD86953937717FF9D0F88
